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                    EXHIBIT B
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                                                               Haddon, Morgan and Foreman, P.C
                                                                            Laura A. Menninger


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  April 25, 2016

  V IA E M A IL

  Sigrid S. McCawley
  Boies, Schiller & Flexner LLP
  401 East Las Olas Blvd., Suite 1200
  Fort Lauderdale, FL 33301
  smccawley@bsfllp.com

  Re:       Giuffre v. Maxwell, Case No. 15-cv-07433-RWS

  Sigrid,

  Based on the Court’s rulings on April 21st, and your client’s deposition on May 3rd,
  please provide the following documents on or before April 27th, 2016.

         All documents withheld on the basis of the “public interest privilege,” other
          than Plaintiff’s actual statements to any law enforcement agency, which are to
          be submitted for in camera review forthwith. See Resp. to RFPs 1, 2, 3, 5, 9,
          10, 12, 13, 15, 18, 19, 27, 28, 35, 36, 37; Plaintiff’s Amended Privilege Log.

         All fee agreements, retainer agreements, and letters of engagement for any
          attorney listed on Plaintiff’s privilege log and “Identification Information from
          Privilege Log for Plaintiff’s First Production.” See Resp. to RFP 4.

         Ms. Giuffre’s deposition testimony in the Cassell & Edwards v. Dershowitz,
          including any errata and the transmission correspondence concerning any such
          errata. See Resp. to RFP 27, 34.

         All of Plaintiff’s medical records for the period 1999-present. See Interrog.
          12, Ex A; Resp. to RFP 1, 26.

         All of Plaintiff’s tax returns for the period 1999 – present. See Resp. to RFP
          14.

         All of Plaintiff’s school records from 1998 – present. See Resp. to RFP 15.
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      All of Plaintiff’s employment records from 1996 – present. See Resp. to RFP
       1, 2, 10, 12, 24.

  Likewise, please provide no later than April 29th Ms. Giuffre’s responses to the
  following interrogatories, as directed by the Court:

      Plaintiff’s residences, with actual dates of residency. Interrog. 1.

      Plaintiff’s attorneys, the dates of their representations, and the nature of their
       representations. Interrog. 3.

      Plaintiff and her attorneys’ communications with law enforcement, including
       the dates of the communications and the parties to the communication.
       Interrog. 4.

      Plaintiff’s employment from 1996 – present, including the dates of the
       employment, the address and telephone number for the employers, job titles
       and income from such employer. Interrog. 9.

      Plaintiff’s health care providers from 1999 – present, including their name,
       address, telephone number, and dates of any treatment. Interrog. 12. As that
       interrogatory directs, please provide releases for any such health care
       provider.

  As you know, we originally requested the records concerning Plaintiff’s employment,
  education, income, tax returns and medical records on February 12, 2016, and to date,
  you have provided almost none. Last week, I asked you to have your client sign
  releases for these records and you have not. In Court, you also seemed to be unaware
  of many of Plaintiff’s health care providers, and therefore, I am skeptical that you
  have actually obtained releases from your client and forwarded them to the
  appropriate entities for copies of their records.

  Therefore, to be clear, we are entitled to records from at least the following entities:

         1. U.S. IRS – tax returns from 1999-present.

         2. Australian taxing authorities – tax returns from 1999-present.

         3. Employment records:
              a. Mar-A-Lago Resort and Spa
              b. Roadhouse Grill
              c. Manpower Logistics
              d. Employment Training and Recruitment Australia
              e. Indigo Bar & Grill
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                 f. Gemma Catering / Wedding Receptions
                 g. Mannway Logistics
                 h. Calmao Flamenco Bar & Restaurant

         4. Education records:
               a. Crestwood Middle School
               b. Royal Palm Beach Community High School
               c. Forest Hill High School
               d. Survivors Charter School

         5. Medical records:
              a. Dr. Karen Kutikoff
              b. Wellington Imaging Associates, PA
              c. Mona Devanesan, M.D.
              d. Growing Together

  As to each entity, and any others that you identify, please provide proof that you have
  submitted a release, including proof of the date on which such request was made.
  Alternatively, provide a signed release from your client by Friday, April 29, 2016 to
  us so that we may obtain the records independently.


                                              Sincerely,

                                              HADDON, MORGAN AND FOREMAN, P.C.


                                              /s/ Laura A. Menninger
                                              Laura A. Menninger
